
PER CURIAM.
Richard Pettis, III, appeals an order summarily denying his motion seeking additional jail credit. See Fla. R. Crim. P. 3.801. Because the trial court failed to attach records conclusively refuting Pettis' claim, we reverse. See Hoskins v. State , 259 So.3d 892 (Fla. 4th DCA 2018). On remand, the trial court shall either grant Pettis' motion, conduct an evidentiary hearing thereon, or attach portions of the record that conclusively refute the claim for additional jail credit. Shepman v. State , 249 So.3d 1318 (Fla. 5th DCA 2018).
REVERSED and REMANDED.
EVANDER, CJ., ORFINGER and COHEN, JJ., concur.
